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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

In re:                              )
                                    )     Case No. 16-21382 JGR
WESTON EDUCATIONAL, INC.,           )     Chapter 7
                                    )
              Debtor.               )
____________________________________)
                                    )
SIMON E. RODRIGUEZ,                 )     Adversary Proceeding No. 18-01360 JGR
Chapter 7 Trustee,                  )
                                    )
                        Plaintiff,  )
v.                                  )
                                    )
CAVCAPITAL, LTD. fdba               )
ADVANCE PAYROLL FUNDING, LTD., )
                                    )
                        Defendant.  )
______________________________________________________________________________

                                  CERTIFICATE OF SERVICE


        I, Angela Garcia, certify that I am, and at all times during the service of process was, not
less than 18 years of age and not a party to the matter concerning which service of process was
made. I further certify that the service of the Summons, Complaint and Notice to Litigants was
made the 1st day of November, 2018, by first-class, United States mail, postage pre-paid,
addressed to:
         CavCapital, Ltd.
         c/o Joel Adelman, registered agent
         3401 Enterprise Pkwy., Ste. 520
         Beachwood, OH 44122

         Under penalty of perjury, I declare that the foregoing is true and correct.
         DATE: November 1, 2018
                                               /s/ Angela Garcia
                                               Paralegal
